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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

    FEDERAL TRADE COMMISSION,
                                          Case No.: 18-cv-62593-DPG
               Plaintiff,

          v.

    SIMPLE HEALTH PLANS LLC, et al.,

               Defendants.




                DEFENDANT STEVEN DORFMAN’S MEMORANDUM
                 IN OPPOSITION TO A PRELININARY INJUNCTION




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           Pursuant to the Court’s Ex Parte Temporary Restraining Order with Asset Freeze,

   Appointment of a Temporary Receiver, and Other Equitable Relief, and Order to Show Cause why

   a Preliminary Injunction Should not Issue (the “Show Cause Order”) [DE 15] and scheduling

   order [DE 76], Defendant Steven Dorfman (“Dorfman”) submits this response and memorandum

   in opposition to the imposition of a preliminary injunction and other relief sought by Plaintiff the

   Federal Trade Commission (the “FTC”) at the preliminary injunction hearing scheduled for April

   16, 2019 (the “Preliminary Injunction Hearing”).

           For the sake of brevity, Mr. Dorfman respectfully refers the Court to his Motion to Strike

   Temporary Restraining Order [DE 79] as to why the FTC is not authorized to obtain the remedies

   sought in this proceeding, including disgorgement and restitution, or injunctive relief to restrain

   the Defendants’ assets for the benefit of those remedies, which he fully incorporates herein.

                                            INTRODUCTION

           The FTC, as a federal regulatory agency, has been endowed by Congress with specific,

   limited enforcement powers. Because of that, like the federal government’s mandate in criminal

   actions, the FTC should maintain the highest standards of integrity in enforcement litigation in

   federal district courts. That is especially the case where, as here, the FTC submits an ex parte request

   to a district court seeking extraordinary relief including a blanket asset freeze over untraced corporate

   and personal assets as well as the immediate takeover of a company by a court-appointed receiver

   without any notice to the interested parties. See Granny Goose Foods, Inc. v. Bhd. of Teamsters &

   Auto Truck Drivers Local No. 70 of Alameda Cty., 415 U.S. 423, 439 (1974) (“the availability of ex

   parte temporary restraining orders reflect the fact that our entire jurisprudence runs counter to the

   notion of court action taken before reasonable notice and an opportunity to be heard has been granted

   both sides of a dispute”). However, in this action, the FTC’s ex parte motion for a temporary




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   restraining order (“TRO Motion”) [DE 3] and memorandum in support thereof (the “TRO

   Memorandum”)1 [DE 12] exceeds and constitutes an abuse of the FTC’s regulatory authority, the

   Court’s ex parte procedures, and the litigants’ obligations to accurately disclose all relevant facts,

   especially when seeking extraordinary relief.

              The FTC relied on assumptions, misattributed statements, and out-of-context facts to make

   a flawed showing that the Defendants deceived their customers into thinking that HBO: (i) sold

   “comprehensive” health insurance; (ii) sold qualified health plans under the Affordable Care Act;

   (iii) was an expert on and sold government-sponsored health insurance policies; and (iv) was

   affiliated with AARP and the Blue Cross Blue Shield Association.

              The FTC’s errors and misrepresentations to the Court appear to stem from a failure to

   understand the health insurance industry it seeks to regulate, blurring important distinctions between

   the various players in the industry and their respective roles, and the process by which consumers

   search for, identify, and buy health insurance and other healthcare products. Individuals that seek to

   purchase a health plan or product often start by conducting generic internet searches using search

   terms such as “health insurance.” See Paragraphs 37-38; 54-63 of the Declaration of Steven Dorfman

   attached as Exhibit “A.” This internet search leads individuals to a variety of independently-owned

   and operated websites for so-called “lead generation” companies that specialize in connecting

   consumers to agencies that sell health insurance plans issued by health insurance companies. Id. To

   be connected with health insurance agencies, consumers often input basic biographical information

   on the lead generation website. Id. The lead generation website then immediately sends these

   “leads” to multiple different agencies that sell health insurance plans and products created and

   maintained by third party health insurers and administrators. Id. Each agency sells a unique array



   1
       All citations herein to “PX” are to exhibits to the FTC’s TRO Memorandum.


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   of health insurance plans and products from a different set of health insurers and providers. Id. Upon

   receiving the “lead,” the agencies’ respective salespeople rush to contact the “lead.” Id. Salespeople

   then compete to sell the consumer a health insurance plan or other product marketed and sold by the

   agency. Id. Ignoring the different roles that health insurers, third-party administrators, lead

   generation companies, and agencies play in the industry, the FTC oversimplifies the industry by

   lumping all of these independent businesses together and clumsily misattributing the various industry

   players’ representations to unrelated entities. The flow of information and relationship between the

   players in the process is summarized in the illustration below:




          In addition to confusing the fundamental process by which health insurance is marketed and

   sold, the FTC apparently also fails to appreciate that the numerous corporate Defendants are distinct

   business entities – further eroding the reliability of the FTC’s ex parte presentation to the Court.

   Indeed, throughout its Complaint, TRO Motion, and TRO Memorandum, the FTC repeatedly refers

   to all of the Defendants as if they are a single entity with identical business models, employees, and



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   operations. In fact, the Defendants are distinct business entities that were in different lines of

   business. The only operating Defendants are: Health Benefits One, LLC (“HBO”), Senior Benefits

   One, LLC (“SBO”), Innovative Customer Care, LLC (“ICC”), and Simple Insurance Leads, LLC

   (“SIL”). Although each of the Defendants is involved in the insurance industry, each has a separate

   identity and defined businesses: (i) HBO is a health insurance agency focused on brokering limited

   benefit health insurance plans, short term medical plans, and wellness plans (and which previously

   sold Affordable Care Act-compliant plans), Dorfman Decl., ¶¶ 48-53; (ii) SBO is a Medicare

   insurance agency focused on brokering Medicare Advantage plans, Dorfman Decl., ¶¶ 79-84; (iii)

   ICC is a customer support company that provided customer support for non-affiliated health

   insurance agencies, Dorfman Decl., ¶¶ 100-102; and (iv) SIL is a lead generation company that

   gathered applications from individuals interested in purchasing health insurance and distributed

   those leads to HBO, SBO, and dozens of other unrelated health insurance brokerages, Dorfman

   Decl., ¶¶ 94-99. Defendant Simple Health Plans, LLC (“SHP”) never operated and Defendant

   Health Center Management, LLC (“HCM”) is merely a holding company that wholly-owned the

   other corporate Defendants as subsidiaries. Dorfman Decl., ¶¶ 41, 103-107.

          The FTC maintains that all of the Defendants acted deceptively by misrepresenting to

   customers the type of health insurance plan they were purchasing. The FTC is wrong. Putting aside

   the fact that Defendants ICC, SIL, SHP, and HCM were never in the business of marketing or selling

   health insurance plans and that there are no allegations with any specificity relating to SBO’s

   conduct, the record reflects that HBO’s representations to consumers and contracts were not

   misleading. In fact, they were replete with express statements advising the customers of the health

   insurance plans and products that they purchased and that the Defendants did not deceive anyone.

   Indeed, while finalizing each customer’s purchase of a health insurance plan, the customer was either




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   read or text messaged all of the terms and conditions of the specific plan they were purchasing,

   setting forth all of the benefits they were entitled to. Dorfman Decl., ¶¶ 64-76. At the end of this

   disclosure, each customer verified that she understood the terms and conditions of the plan she

   purchased. Id; see also, verification annexed to FTC’s consumer-witnesses’ declarations (PX6-22).

           Despite all of this, it appears that the FTC had a pre-determined view of the corporate

   Defendants and Mr. Dorfman, and has investigated and litigated this case to vindicate its pre-

   conceived beliefs – regardless of actual facts.       As a result, the FTC’s strategy in its ex parte

   submission to the Court was to obtain an uncontested temporary restraining order imposing

   onerous conditions obstructing the Defendants’ ability to contest this action by denying Mr.

   Dorfman the ability to fund his legal defense and putting the corporate Defendants out of business

   before they even had an opportunity to respond to the FTC’s claims and correct the record. To secure

   the ex parte TRO, the FTC improperly caused the Court to rely on an ex parte submission loaded with

   material falsehoods, half-truths, innuendo, assumptions and omissions. It was a transparent effort to

   inflame the Court through a one-sided, incomplete version of the material facts bearing on the

   extraordinary remedies sought. Below are a few examples of the outright falsehoods and omissions in

   the FTC’s ex parte papers:

          The FTC asserts that HBO used deceptive third party lead generation websites to market

           health plans sold by HBO. Specifically, the FTC takes issue with the fact that these

           websites reflect that they (i) specialize in providing comprehensive health insurance, (ii)

           are affiliated with Blue Cross Blue Shield Association and AARP, and (iii) are experts on

           government-sponsored health insurance. See TRO Memorandum, 4-11. In reality, HBO

           had an arms-length business relationship with the lead generation companies, had no way

           that it could have monitored their independent business activities, and was not responsible




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           for the content listed on those websites. Dorfman Decl., ¶¶ 54-57. Regardless, the

           representations that the FTC complains of are true. HBO was only one of scores of health

           insurance agencies that the lead generation websites sent leads to and many of the other

           health insurance agencies in fact: (i) specialize in providing comprehensive health

           insurance; (ii) are affiliated with Blue Cross Blue Shield Association and AARP; and (iii)

           are experts on government-sponsored health insurance. Dorfman Decl., ¶ 58.

          The FTC asserts that HBO deceived its customers into purchasing health insurance

           products that did not meet their expectations TRO Memorandum, 12-23. In reality, before

           consummating each transaction, HBO’s representatives read or emailed to the customer

           the complete terms and conditions of the product that the consumer purchased and each

           consumer verified his or her assent to those terms. Dorfman Decl., ¶¶ 60-63. HBO cannot

           be held liable for a handful of customers misunderstanding the terms of their coverage

           despite having those terms clearly explained to them orally and in writing.

           What makes the FTC’s misrepresentations all the more egregious is that, if the FTC had

   done even an iota of untainted due diligence, the FTC would have an actual understanding of the

   Defendants’ respective operations and would have avoided destroying multiple profitable

   businesses, leaving hundreds of individuals unemployed and hundreds of thousands of individuals

   without access to customer support for the healthcare products that they purchased. Instead, the

   FTC chose to shoot first and ask questions later based on the hearsay self-drafted declarations by a

   select few disgruntled customers, out of tens of thousands of satisfied customers, and declarations

   from two vindictive former low-level employees. Worse yet, recordings of the sales calls between

   HBO and the customer-witnesses that the FTC coerced into submitting declarations on behalf of

   this action directly contradict statements in the customers’ declarations submitted in support of




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   the TRO. Those recordings, which Mr. Dorfman will present to the Court at the Preliminary

   Injunction Hearing, highlight that during sales process, HBO representatives advised the consumer-

   witnesses: (i) that the plans they were purchasing were not (a) ACA-complaint or (b) comprehensive

   health insurance; and (ii) the benefits they were entitled to and their health insurance plans’ terms

   and conditions. The recordings also highlight that HBO never told customers they were purchasing

   health insurance issued by the Blue Cross Blue Shield Association or AARP.

          Once the TRO was entered, the Receiver took control of the Defendants’ assets, and Mr.

   Dorfman’s personal funds were frozen and inaccessible to him. As a result, Mr. Dorfman, who is

   married has been severely restricted in his ability to use his own money to pay for basic living

   expenses and for his legal defense. Notably, the FTC has rebuffed Mr. Dorfman’s request that the

   asset freeze be modified so that he can access funds to pay for his family’s expenses and for his

   legal defense. The FTC would prefer that Mr. Dorfman not be able to fund a legal defense and

   challenge the quality and sufficiency of the investigation in this case.

          The Court should not condone the FTC’s improvident ex parte submission by entering the

   requested preliminary injunction. More important, as shown below, the factual record and applicable

   law does not support a preliminary injunction. First, the FTC failed to show that there is a likelihood

   it will prevail on the merits. In its papers, the FTC ignored key facts that contravene its allegations,

   i.e., that the Defendants did not deceive anyone or engage in unfair trade practices.

          Second, the FTC completely fails to support the onerous blanket asset freeze over the

   corporate Defendants’ and Mr. Dorfman’s personal assets. The FTC failed to satisfy the threshold

   inquiry for such an asset freeze: that there is a risk of dissipation of assets. The FTC’s argument in

   support of the risk of dissipation is comprised of false assumptions, misstatements, and innuendo—

   and nothing more. In attempting to obtain the asset freeze, it seems that the FTC’s strategy was to




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   publish inflammatory allegations and references to “suspicious” transfers to offshore accounts. In

   reality, the transfers were contractual payments to companies that provided HBO with call center

   support from Panama and the Dominican Republic – not shells to which Mr. Dorfman sought to

   secrete assets. Simply put, there is no showing here of a danger of dissipation.

          Third, the FTC has not provided support for the extreme remedy of implementing a receiver.

   In addition to not showing a risk of dissipation of assets, which is an important aspect of the

   receivership analysis, the FTC cannot justify the severe hardship imposed by the receivership on Mr.

   Dorfman, and more importantly, on the corporate Defendants’ employees and customers who rely on

   their continued operation. To the extent that the Court determines that oversight of the corporate

   Defendants is appropriate, a corporate monitorship would clearly suffice.

          In sum, the Court should not condone the FTC’s thoughtless approach to this case. Granting

   the proposed preliminary injunction will essentially give the FTC license to continue submitting

   incomplete and misleading ex parte assertions to district courts in order to obtain extreme injunctive

   relief that exceeds the FTC’s statutory authority. Further, granting a preliminary injunction is simply

   not legally appropriate given the heavy legal burden and the facts of this case. The TRO, entered

   based on the FTC’s improper and misleading ex parte submission, has destroyed Mr. Dorfman’s

   reputation and his businesses, resulting in the loss of jobs and damaging the corporate Defendants’

   customers relying on their ongoing services, and destroyed Mr. Dorfman’s finances, as he cannot

   access most of his personal funds. Effectively, the FTC’s actions flip the American judicial system

   on its head by treating defendants as guilty until they prove their own innocence while subject to

   an asset freeze. The Court should deny the FTC’s motion for a preliminary injunction and proceed

   with this historical case with the parties on equal footing. This is what due process and fairness

   require.




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                                     MEMORANDUM OF LAW

   I. The Defendants Are Not a “Common Enterprise”

           The FTC erroneously seeks to have all of the Defendants held jointly and severally liable

   for their conduct because the FTC alleges that they are a “common enterprise.”                TRO

   Memorandum, 31-32. To establish that the Defendants constitute a common enterprise the FTC

   bears the burden of establishing that the Defendants: (i) have common control; (ii) share office

   space and officers; (iii) transact business through a maze of interrelated companies; (iv) commingle

   corporate funds and fail to maintain separation of companies; (v) have unified advertising; and (vi)

   are not distinguishable. FTC v. Wolf, 1996 WL 81240, at *7 (S.D.Fla. Jan. 31, 2016) (collecting

   cases). In support of its contention that the Defendants form a “common enterprise” the FTC

   nakedly asserts that the Defendants “engage in the same health insurance scam; share ownership,

   management, office locations, employees, fictitious business names, insurance licenses, leads and

   lead generation websites; and commingle funds.” TRO Memorandum, p. 32. The FTC failed to

   provide any substantiating evidence for these allegations. In reality, apart from the corporate

   Defendants sharing common ownership by HCM, for which they undertook efforts to maintain

   corporate formalities, the corporate Defendants do not share any of the other hallmarks of a

   common enterprise: (i) apart from a couple of members of senior management and HBO’s account

   department, they do not maintain common employees; (ii) they have distinct and separate office

   space; (iii) they have independent operations; (iv) they maintain separate accounts and books and

   records; and (v) they have independent marketing and advertising efforts and strategies. See

   Dorfman Decl., ¶¶ 42-46. Furthermore, HBO is the only Defendant against whom the FTC made

   any specific allegations against. Accordingly, the FTC failed to meet its burden of establishing

   that the Defendants are engaged in a common enterprise and that they should held jointly and

   severally liable.


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           Seemingly, the FTC’s overzealous efforts to characterize the Defendants as a “common

   enterprise” stem from its fundamental misapprehension of the different business activities of each

   Defendant described above and in the Dorfman Declaration. As highlighted below, properly

   attributing the alleged misrepresentations at issue to the appropriate Defendant, as opposed to

   clumsily attempting to collapse all of the Defendants into a single entity, provides a more

   contextual analysis of why the Defendants did not make any actionable representations to

   consumers. Accordingly, the Court should deny the FTC’s request that the Defendants be treated

   as a “common enterprise” and be held jointly and severally liable for their individual conduct.

   II. The Proposed Preliminary Injunction is Improper.

       A. Legal Standard.

           For the FTC to obtain injunctive relief it bears the burden of showing that (1) it is likely to

   ultimately succeed on the merits of the case and (2) that a balancing of the equities supports the

   injunctive relief sought. FTC v. IAB Mktg. Assocs., LP, 746 F.3d 1228, 1232 (11th Cir. 2014); see

   also 15 U.S.C. § 53(b). “In light of the severe adverse consequences of a preliminary injunction, the

   FTC has a substantial burden under Section 13(b).” See FTC v. Great Lakes Chem. Corp., 528 F.

   Supp. 84, 86 (N.D. Ill. 1981). Where, as here, the FTC seeks extraordinary injunctive remedies

   beyond merely enjoining allegedly violative conduct, it is required to satisfy an even higher burden

   of proof. See SEC v. Compania Internacional Financiera S.A., 2011 WL 3251813, at *7 (S.D.N.Y.

   July 29, 2011) (“Like any litigant, the Commission [is] obliged to make a more persuasive showing

   of its entitlement to a preliminary injunction the more onerous are the burdens of the injunction it

   seeks.”).

       B. The FTC Did Not Meet its Burden of Establishing that it Will Succeed on the Merits.

           The FTC alleges that the Defendants engaged in deceptive acts or practices in violation of

   Section 5(a) of the FTC Act, 15 U.S.C. § 45(a), and deceptive telemarketing acts or practices that


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   violate the Telemarketing Sales Rule, 16 C.F.R. §§ 310.3(a)(2)(iii), (a)(2)(vii), & (a)(4). See

   Complaint at 23-26.       Specifically, the FTC claims HBO engaged in deceptive conduct by

   misleadingly claiming to customers that: (i) HBO’s limited benefits plans and medical discount

   memberships are comprehensive health insurance or the equivalent; (ii) that these products are

   qualified health insurance plans under the Affordable Care Act; (iii) that HBO is an experts on, or

   provider of, government-sponsored health-insurance policies; and (iv) HBO is affiliated with

   AARP or the Blue Cross Blue Shield Association. See TRO Memorandum, 35-36. The FTC is

   wrong. HBO did not engage in intentionally deceptive conduct.

           To establish deceptive acts or practices, the FTC bears the burden of showing that (1) the

   defendant made a representation; (2) the representation was likely to mislead customers acting

   reasonably under the circumstances; and (3) the representation was material. See FTC v. Tashman,

   318 F.3d 1273, 1277 (11th Cir. 2003). As shown below, the FTC will not prevail on the merits of

   its claims against the Defendants for alleged deceptive practices for a number of independent

   reasons: (i) third parties, not the Defendants, made the alleged misrepresentations; (ii) the

   representations at issue were true and not actually misrepresentations; and (iii) even if the

   representations were misleading, they were immaterial because the Defendants adequately

   disclosed the terms and conditions of the health insurance products that consumers purchased.

           1. The FTC Failed to Meet its Burden to Establish that the Defendants Made Any
              Misrepresentations.

              a. HBO Did Not Represent that Consumers Were Purchasing Comprehensive
                 Health Insurance.

           The FTC alleges that HBO represented to consumers that it sold comprehensive health

   insurance by citing to:

          Declarations from a handpicked sample of customers who claim that HBO’s

           representatives told them that the health insurance policy they were purchasing was a


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            preferred provider organization (i.e., a “PPO”) health insurance policy.                        TRO

            Memorandum, 12-13.

          Declarations from FTC investigators and former customers indicating that they claim that

           HBO’s representatives told them that the plan they purchased covered: (i) doctor office

           visits, (ii) hospital visits, (iii) diagnostic testing, (iii) medications, and (iv) surgical

           procedures. Id., 14-16.

           In other words, the FTC claims the fact that HBO’s representatives told customers that the

   plans they purchased were PPOs and provided the covered benefits is equivalent to the Defendants’

   representation that the subject plans were comprehensive health insurance. However, neither of

   these representations, even if proved, supports the allegation that HBO mislead consumers into

   believing they were purchasing comprehensive health insurance plans.

           First, the fact that a health insurance plan or product gives customers access to a Preferred

   Provider Organization or “PPO” does not mean that the plan or product is comprehensive health

   insurance. A PPO is merely a network of healthcare providers, such as doctors, urgent cares,

   hospitals, or labs. Dorfman Decl., ¶¶ 21-24. The fact that a health insurance plan is a “limited

   benefit plan” does not mean that it cannot simultaneously include a PPO network. Dorfman Decl.,

   ¶ 22. Critically, none of the customer-witnesses’ declarations reflect that that HBO representatives

   told the consumers that they were purchasing comprehensive health insurance.2 Indeed, the audio

   recordings of the HBO’s representatives’ conversations with the FTC’s consumer-witnesses,

   which will be played during the Preliminary Injunction Hearing, confirm as much and even go



   2
     See TRO Memorandum Footnote 33 citing PX 6, Banksi Dec. ¶ 5 (no allegation that HBO’s representative told her
   she was purchasing “comprehensive health insurance” or an ACA-compliant plan); PX9, Hackethal Dec. ¶ 6 (same);
   PX 10, Hall Dec. ¶ 5 (same); PX 13, Macary Dec. ¶ 5 (same); PX 14, Mandarich Dec. ¶ 4 (same); PX 15, Prescher
   Dec. ¶ 5 (same); PX 17, Skordilis Dec. ¶¶ 3-6 (same); PX 20, Thompson Dec. ¶ 3 (same); PX 21, Touchet Dec. ¶ 3
   (same); PX 22, Van Deusen Dec. ¶¶ 3-4 (same).



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   further to show that many of these witnesses (i) specifically said they did not want comprehensive

   health insurance (because they could not afford it) and (ii) were affirmatively told that they were

   not purchasing comprehensive health insurance. Accordingly, the FTC’s allegation that HBO

   misrepresented to consumers that they were purchasing comprehensive health insurance is wrong.

   Additionally, transcripts of HBO’s representatives calls with the FTC’s undercover investigators

   also highlight that HBO informed the FTC’s undercover agents that the plans they were

   “purchasing” were not comprehensive health insurance. See, e.g. PX 3, Al-Najjar Dec., page 23

   (Where HBO representative advises Mr. Al Najjar that the plan he is purchasing is not

   comprehensive health insurance, major medical health insurance, or ACA-Complaint).

            Second, healthcare benefits such as doctor visits, hospital visits, diagnostic testing,

   prescriptions, and surgical procedures are not exclusively afforded by comprehensive health

   insurance, but also provided by other plans such as limited benefit insurance plans. Dorfman Decl.,

   ¶ 8. Further, the health insurance plans that the witnesses purchased in fact provided benefits for

   doctor visits, hospital visits, diagnostic testing, medications, and surgical procedures.3

            In sum, the FTC failed to meet its burden of establishing that HBO’s representations

   misrepresented the type of benefits their plans afforded consumers.



   3
     See PX 1, Menjivar Dec., p. 451-452 (providing coverage for physician are, prescriptions, and lab testing), 459
   (providing schedule of benefits for hospitals, doctors visits, and emergency room visits), 482 (prescription coverage),
   485 (imaging and laboratory testing coverage), 486 (medical supplies and equipment coverage); PX 2, Hawkins Dec.,
   p. 62 (providing schedule of benefits for hospitals, doctors visits, and emergency room visits), 79, 86, 105 (prescription
   coverage), 89 (imaging and laboratory testing coverage), 90 (medical supplies and equipment coverage); PX 8,
   Declaration of Jules Fernandez (failing to attach any documents evidencing that he did not receive any of the benefits
   he alleged that the Defendants promised he would receive); PX 9, Hackethal Dec. (failing to attach any documents
   evidencing that he did not receive any of the benefits he alleged that the Defendants promised he would receive); PX
   16, Scott Dec., (failing to attach any documents evidencing that he did not receive any of the benefits he alleged that
   the Defendants promised he would receive); PX 18, Slawson Dec., ¶ 4 (Defendant’s representative advised customer
   that she was purchasing a “limited plan.”) (failing to attach any documents evidencing that he did not receive any of
   the benefits he alleged that the Defendants promised he would receive); PX 19, Stanley Dec. (failing to attach any
   documents evidencing that he did not receive any of the benefits he alleged that the Defendants promised he would
   receive)



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               b. HBO Did Not Represent to Consumers that they Were Purchasing Affordable
                  Care Act-Compliant Plans.

           The second category of alleged misrepresentations that the FTC claims HBO made and are

   actionable is that HBO told consumers that the plans they purchased qualified under the Affordable

   Care Act. TRO Memorandum, 7-11. Again, the facts do not support the FTC’s claim. Tellingly,

   none of the consumer-witnesses claimed that HBO representatives told them that HBO’s plans are

   qualified Affordable Care Act plans or government-sponsored health insurance.4 See also, PX 3,

   Al-Najjar Dec., page 23 (Where HBO representative advises Mr. Al Najjar that the plan he is

   purchasing is not comprehensive health insurance, major medical health insurance, or ACA-

   Complaint). To the contrary, as will be highlighted during playback of the consumer-witnesses

   recorded calls during the Preliminary Injunction Hearing, HBO explicitly advised the consumer-

   witnesses that the plans they were purchasing from HBO were not Affordable Care Act plans.

   Accordingly, the FTC failed to meet its burden of establishing that HBO misrepresented to the

   consumer-witnesses that they were purchasing ACA-compliant plans.

           To the extent that any of the lead generation companies that HBO purchased leads from

   represented that they were affiliated with other insurance agencies that sold ACA-compliant plans,

   HBO is not liable for those representations because those representations (i) were made by a third

   party and/or (ii) are true. Dorfman Decl. ¶¶ 30-36; 58. Indeed, the FTC failed to submit any

   evidence (through declarations or otherwise) that the lead generation companies that represented

   that they were affiliated with agencies that sold ACA-compliant or comprehensive health

   insurance plans did not in fact send leads to agencies that sold those types of health insurance




   4
     See TRO Memorandum footnote 39; PX 9, Hackenthal Dec. ¶ 6 (reflecting that HBO’s representative did not state
   that she was purchasing an ACA-complaint plan); PX 10, Hall Dec. ¶¶ 3 & 5 (same); PX 13, Macaray Dec. ¶¶ 4-5
   (same); PX 14, Mandarich Dec. ¶ 3 (same); PX 21, Touchet Dec. ¶¶ 3-4 (same); and PX 22, Van Deusen Dec. ¶ 3
   (same).


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   plans. To the contrary, the lead generation companies that HBO purchased leads from did in fact

   sell leads to other insurance agencies that sold ACA-complaint and comprehensive health

   insurance plans. See Dorfman Decl. ¶¶ 58, 98. Accordingly, the FTC failed to meet its burden of

   establishing that the Defendants actionably represented that they sold ACA-complaint or

   comprehensive health insurance plans.

                c. HBO Did Not Represent to Consumers that they Were Purchasing Plans
                   Issued by the Blue Cross Blue Shield Association or AARP.

           The FTC also seeks to hold HBO liable for SIL’s and other lead generation’s

   representations on their websites that they were affiliated with the Blue Cross Blue Shield

   Association (“BCBS”) or AARP. TRO Memorandum, 6-7. As a preliminary matter, there are no

   allegations or substantiating evidence that HBO represented to consumers that they were

   purchasing BCBS or AARP Plans. Accordingly, the Court should disregard any insinuation that

   HBO made such a representation. Additionally, similar to its failure to meet its burden of

   establishing that the lead generation companies sold leads to insurance agencies that sold ACA-

   compliant or comprehensive health insurance plans, the FTC failed to present any evidence that

   the lead agencies that HBO purchased leads from did not sell leads to agencies that sold plans

   issued by BCBS or AARP.5 In truth, those lead agencies did in fact sell leads to agencies that sold

   health insurance plans issued by BCBS or AARP. See Dorfman Decl., ¶¶ 58, 98.                          In sum, the

   FTC failed to meet its burden of showing that (i) HBO made any representation that it sold AARP

   or BCBS health insurance plans and (ii) that those lead generation companies did not in fact send




   5
    Tellingly, while HBO does not claim to sell policies issued by AARP and Blue Cross Blue Shield Association,
   neither the declaration issued by AARP’s representative (PX 27) nor the declaration issued by Blue Cross Blue Shield
   Association’s representative (PX 29) reflect that their health insurance policies are not sold by any of HBO’s
   competitor insurance agencies that also procure leads from the same lead generation companies as HBO.


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   leads to insurance brokerages that sold plans issued by BCBS or AARP. Accordingly, these

   representations are not actionable.

              d. HBO Was Qualified to Advise Consumers on the Affordable Care Act.

          The FTC also claims that HBO misrepresented to consumers that it was an expert on the

   Affordable Care Act. However, to the extent that HBO “boast[ed] about their superior ability to

   advise consumers about options under the ACA,” that statement is not a misrepresentation since,

   as the FTC explicitly acknowledges, HBO sold numerous ACA-qualified policies – giving them

   adequate experience to “advise consumers about options under the ACA.” See TRO Memorandum,

   11.

          2. Even if the Representations were False, they were Immaterial and it was
             Unreasonable for Consumers to Rely on Them.

          Even if (i) HBO’s sales representatives misrepresented to consumers that the plans they

   purchased were (a) ACA-complaint or (b) comprehensive health insurance or (ii) the lead

   generation companies that HBO purchased leads from misrepresented that they had business

   relationships with insurance brokerages that sold plans issued by BCBS or AARP, the FTC failed

   to meet its burden of establishing that those statements were material and that it was reasonable

   for consumers to rely on them when purchasing their policies from HBO. This is so because, even

   as the FTC’s witnesses acknowledged in their declarations, HBO’s representatives disclosed the

   plans’ benefits, terms, and conditions with consumers when they purchased the plans and the

   consumers received documentation setting forth those details as well. Dorfman Decl., ¶¶ 60-62,

   72-76, 91-93; see also¸ Footnote 3 above.

          “When assessing whether a representation is misleading, courts look to the representation's

   overall, net impression rather than the literal truth or falsity.” See FTC v. Consumer Collection

   Advocates Corp., 2015 WL 12533013, at *4 (S.D. Fla. Sept. 9, 2015). A representation or



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   omission is material if it is of the kind usually relied on by a reasonably prudent person. See FTC

   v. SlimAmerica, Inc., 77 F. Supp. 2d 1263, 1272 (S.D. Fla. 1999). Mere puffery is not considered

   deceptive. “Where a claim is merely exaggerated advertising, blustering, and boasting upon which

   no reasonable buyer would rely, it may be un-actionable puffery.” FTC v. Direct Mktg. Concepts,

   Inc., 624 F.3d 1, 11 (1st Cir. 2010) (citations and quotes omitted); see also FTC v. NPB Advert.,

   Inc., No. 8:14-CV-1155-T-23TGW, 2016 WL 6493923, at *7 (M.D. Fla. Nov. 2, 2016) (“An

   advertiser may lawfully engage in puffery,’ i.e., state an opinion about a product”) (citation

   omitted).

             Disclaimers and disclosure to consumers may shield defendants in FTC cases from liability

   if they are communicated to consumers. In a frequently cited case regarding the avoidance of

   liability through disclaimers, the First Circuit stated:

                    Disclaimers or qualifications are not adequate to avoid liability
                    unless they are sufficiently prominent and unambiguous to
                    change the apparent meaning of the claims and to leave an
                    accurate impression. Anything less is only likely to cause
                    confusion by creating contradictory double meanings.

   FTC v. Direct Mktg. Concepts, Inc., 624 F.3d 1, 12 (emphasis added); see also, FTC v. Capital

   Choice Consumer Credit, 2003 WL 25429612, at *5 (S.D.Fla. 2003) (citing above passage from

   Direct Mktg.); FTC v. Alcoholism Cure Corp., 2011 WL 13137951, at *44 (M.D. Fla. 2011)

   (same).

             Here, the FTC’s own exhibits evidence that the consumer-witnesses purchased limited

   benefit and discount membership plans from HBO and were never told that they were purchasing

   anything other than those products. All of HBO’s customers were required to review and consider

   the terms and conditions of the health insurance plans they were purchasing prior to consummating

   their purchase. Dorfman Decl., ¶¶ 60-63; see also, Footnote 3. As evidenced by the plan documents

   submitted by the FTC and attached to the FTC’s consumer-witnesses declarations, this disclosure


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   set forth with painstaking detail the benefits, coverage, limits, terms, and other conditions of the

   plans that consumers were purchasing from HBO. Further, as will be evidenced by playbacks of

   recordings of the conversations that the consumer-witnesses had with HBO’s representatives,

   HBO’s representatives also disclosed the nature of the benefits, terms, and conditions of the plans

   that consumers purchased. In sum, the terms of the health insurance plans that the customers were

   purchasing were “prominent and unambiguous” and certainly left customers with an accurate

   depiction of the product they were purchasing. See Direct Mktg., 624 F.3d at 12.

          Therefore, even if any of the representations identified by the FTC were (i) misleading and

   (ii) attributable to HBO, the FTC failed to meet its burden of establishing that those

   misrepresentations were material or that it was reasonable for consumers to rely on them in the face

   of prominent, clear disclosures that the plans they were purchasing were not comprehensive health

   insurance or ACA-complaint.

      C. The FTC’s Case is Based on the Complaints of a Select Few Disgruntled Customers
         Out of Tens of Thousands Customers.

          Finally, taking the above into consideration, it is also important to note the inadequate sample

   size of customer complaints offered by the FTC and the obvious selection bias at hand. HBO sold

   over five hundred thousand (500,000) insurance plans and other products and supplements to

   customers since 2013. Dorfman Decl., ¶ 52.         Meanwhile, the FTC brings its allegations of

   widespread deceptive practices by the Corporate Defendants based on only 16 customer complaints,

   which represents less than 0.0035% of the Corporate Defendants’ customers. See PX Decl. 6-22, in

   support of Motion for TRO. The few declarations of disgruntled customers are not representative

   of a fair sample of Corporate Defendants’ customers.




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      D. Steven Dorfman Is Not Individually Liable for any of the Corporate Defendants’
         Conduct.

          As the FTC highlights, for an individual to be held liable for corporate misdeeds, the FTC

   has the burden of showing that the individual has knowledge of the misrepresentations made by

   his company or should be aware of those misrepresentations. See, generally, TRO Memorandum,

   37. The FTC claims that Mr. Dorfman is liable for any of the corporate Defendants’ misdeeds

   because he is their sole officer, controls their practices, and is aware that customers have cancelled

   health insurance plans that they purchased from the corporate Defendants because they were

   unhappy with the coverage that it provided them. TRO Memorandum, 38. However, this alone

   does not impute liability for any wrongful conduct to Mr. Dorfman. In Coro, Inc. v. FTC, 338

   F.2d 149 (1st Cir. 1964), the court found that FTC could not meet its burden of establishing that

   an individual should be personally liable for his company’s bad acts just because he was the

   company’s largest shareholder, president, and chairman and was responsible for the company’s

   acts and practices. Coro, 338 F.2d at 154.

          The FTC’s effort to impute individual liability on Mr. Dorfman fails for the same reason

   as it did in Coro. Simply put, although Mr. Dorfman was ultimately in charge of the corporate

   Defendants’ operations, he did not have and could not reasonably have been expected to have

   knowledge that one or a few of his thousands of employees may have been making material

   misrepresentations to customers. Indeed it would be an impossible task for any executive of any

   large organization to know exactly what his employees were doing. For this reason, Mr. Dorfman

   built-in safeguards at his companies, requiring all of his employees to follow a script (the “Script”)

   when marketing and selling health plans to customers and to comply with the Policies. Dorfman

   Decl. at ¶¶ 64-76. The Script explicitly required the Defendants’ employees to advise customers

   that the health plans they were purchasing provided discounts and included an indemnity



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   component that did not cover the entire cost of services, that the “plan does not meet the definition

   of minimal essential coverage, therefore, you could be subject to a tax penalty,” and that the

   Defendants’ agent would confirm the details of the insurance portion and discount part of the

   health plan. See PX 30, Baker Decl., ¶ 9 (“All agents were required to follow a sales script.”), 13

   (“The script explain[ed] the differences between limited benefit plans and major medical

   insurance. It also noted that limited plans did not meet the ACA’s minimum essential coverage

   requirements.”), p. 8-10. Despite requiring employees to follow the Script, apparently a few of

   them may have allegedly “skipped these disclosures.” Id., ¶ 13. Mr. Dorfman also created a

   quality assurance team to monitor the HBO’s sales representatives sales pitches to consumers to

   make sure that they completely explained and disclosed the terms and conditions of the plans and

   policies that consumers purchased. See, PX 31, Seraphin Decl., ¶ 29. Employees that failed to

   adequately explain the terms and conditions of policies that they were selling to consumers were

   reprimanded. Id.; see also, PX 30, Baker Decl., ¶ 15. The FTC’s own witness testified that the

   Defendants never told their employees to lie to consumers. PX 31, Seraphin Decl., ¶ 26.

          Additional grounds for not imputing the corporate Defendants’ conduct to Mr. Dorfman

   exist because the corporate Defendants were audited by HII, the third party administrator that

   compiled the health insurance policies and products that HBO sold, regularly audited HBO’s

   employee training and sales and verification processes. A copy of documents produced by HII is

   annexed hereto as Exhibit “B.” In each instance, HII after onsite visits and interviews with HBO

   employees, confirmed that HBO’s business practices complied with all statutory and regulatory

   requirements. HII most recently audited HBO on September 13, 2018. See HII_000130-142. The

   purpose of the audit, as all that preceded it, was to:




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         Assess the extent of HBO’s compliance with regulatory and insurance requirements, as

          well as HII’s own policies;

         To assess whether HBO’s procedures are effective and ensure integrity; and

         To verify that HBO and HII have sufficient controls over HBO’s processes and employees.

   See HII_000133. To that end, HII reviewed HBO’s sales process, verification processes, and

   consumer complaints and interviewed HBO employees.              See HII_000134-35.      HII’s audit

   confirmed that two HBO employees, Kirschner Alteme (with 15 years of experience) and David

   Caldes (with 10 years of experience) conducted sales and verification training for HBO employees.

   See HII_000136. HBO invested a week of sales training in its employees with both a classroom

   and floor monitoring component and two weeks of sales verification training. Id. Additionally,

   HII’s audit verified that HBO trains its employees using materials provided by HII and insurers.

   HII_000137. After conducting its extensive audit, HII concluded that apart from updating a few

   questionnaire responses, HBO did not have any deficiencies in its sales and verification processes.

   See HII_000142 (2017-2018 audit). HII reached the same conclusion, that HBO’s processes were

   sufficient, in its other recent audits as well. See HII_000109 – 121 (June 11, 2018 audit);

   HII_000147-150 (February 24, 2016 audit); HII_000151-158 (March 26, 2015 audit). In sum,

   based on HII’s own review of HBO’s policies and practices it “found Simple Health’s practices to

   be in adherence with HII Compliance guidelines.” See HII_000111.

   III. The Proposed Blanket Asset Freeze is Improper.

          An asset freeze is an extremely severe remedy, justifiable only in extraordinary circumstances

   and which must be very carefully circumscribed. The FTC claims that an asset freeze is necessary

   because Mr. Dorfman is wrongly siphoning assets to offshore bank accounts. TRO Memorandum,

   39-40. However, the FTC has not submitted any evidence of risk of dissipation of the Defendants’




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   assets. Instead, the FTC relied on half-truths and speculation cloaked as facts when representing

   that Mr. Dorfman was funneling the Defendants’ assets to offshore accounts. Accordingly, the FTC

   failed to meet its burden of establishing that the blanket asset freeze is warranted. In reality, the

   identified transfers were periodic payments to companies that provided customer and call center

   support for HBO. Dorfman Decl., ¶¶ 108-13.

           Even if the Court determines that the FTC has the common law-created remedies of

   disgorgement and restitution at its disposal, the FTC is not entitled to an asset freeze because it

   failed to meet its burden of showing that there is a substantial risk that the Defendants will dissipate,

   conceal, or transfer away assets before a final judgment is rendered. See CFTC v. Sterling Trading

   Group, Inc., 605 F.Supp.2d 1245, 1304 (S.D. Fla. 2009) (denying asset freeze in part because the

   CFTC did not make “showing of dissipation or hiding of assets”); see also, SEC v. ABS Manager,

   LLC, No. 13cv319-GPC (JMA), 2013 WL 1164413, at *6 (S.D. Cal. Mar. 20, 2013) (denying asset

   freeze because, “[i]n support of its motion to freeze assets, the SEC . . . offered no evidence that [the]

   Defendant . . . will likely dissipate his own personal assets or the corporate assets.”); SEC v. Schooler,

   902 F. Supp. 2d 1341, 1360 (S.D. Cal. 2012) (modifying asset freeze in part because “SEC . . . offered

   no evidence that Defendants are sheltering or hiding money, or shuffling it around nefariously”); FTC

   v. Millennium Telecard, Inc., 2011 WL 2745963, at *12-13 (D.N.J. Jul. 12, 2011) (refusing to

   continue asset freeze because incidents of financial impropriety – including the principal’s history of

   writing checks to cash on corporate accounts, of writing bad checks and of co-mingling personal and

   corporate funds – failed to demonstrate a likelihood that the defendants would dissipate any assets);

   FTC v. John Beck Amazing Profits, LLC, No. 2:09-cv-4719-FMC-FFMx, 2009 WL 7844076, at *15

   (C.D. Cal. Nov. 17, 2009) (denying asset freeze of defendants’ personal assets: “[T]here is no

   evidence that Defendants have ever previously attempted to intentionally dissipate, hide or otherwise




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   shelter corporate or personal assets from an effort to collect a debt or judgment against Defendants.”).

   This is the principal inquiry on this issue because the purpose of an asset freeze is to ensure that

   defendants will not dissipate, conceal, or divert assets before a final judgment, “thereby defeating

   the possibility of effective final relief in the form of equitable monetary relief.” See CFTC v. Mad

   Fin., Inc., 2002 WL 1972063, at *7 (S.D. Fla. 2002). Thus, without a substantial showing of a

   likelihood of dissipation, there is no need for an asset freeze through the duration of this proceeding.

   Further, to establish the possibility of dissipation, the FTC “cannot rely on conjecture, instead, [it]

   must offer evidence specific to the Defendant that reveals a possibility that the Defendant will

   dissipate assets.” FTC v. Debt Solutions, Inc., No. C06-298JLR, 2006 WL 1041996, at *7 (W.D.

   Wash. Apr. 3, 2006). In Debt Solutions, Inc., the Court froze the corporate defendants’ assets upon

   proof that the corporate assets had been secreted to Canada, but declined to freeze the assets of the

   individual defendants. Id. The court recognized that the individuals were “accused of violations

   that could subject them to substantial liability,” but concluded that, if “this were sufficient to stablish

   a ‘possibility’ of dissipation, then every defendant subject to an injunction under the FTCA would

   automatically be subject to an asset freeze.” Id.

           The FTC has failed to make any showing whatsoever that the Defendants and Mr. Dorfman

   are likely to dissipate or conceal assets. The FTC’s efforts to demonstrate a likelihood of

   dissipation are premised on innuendo, speculation, and falsehoods. To create the false appearance

   of questionable offshore transfers, the FTC blatantly misrepresented to the Court that Mr. Dorfman

   was “funneling large sums of cash overseas.” See TRO Memorandum, 48. This is a total falsehood.

   Simply put: none of the Defendants have or have ever had offshore bank or financial accounts.

   Dorfman Decl., ¶ 113. Rather, the international wire transfers identified by the FTC’s forensic

   accountant relate to payments from the Defendants to offshore call centers used by the Defendants




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   to conduct their business. Dorfman Decl., ¶¶ 108-12, PX 5, ¶ 37. Furthermore, Mr. Dorfman’s

   actions in this case have evidenced that he is not attempting to conceal assets and has gone above

   and beyond to identify and voluntarily turnover assets to the receiver. Indeed, the FTC and Receiver

   can attest to, Mr. Dorfman voluntarily walked-over assets worth in excess of $1 million to the

   Receiver on the same day that he was served with the TRO.

           In sum, the FTC has not submitted any competent evidence that Mr. Dorfman or the corporate

   Defendants present any risk of dissipation of assets. Clearly the FTC failed to meet the extraordinary

   burden imposed when seeking such a severe remedy. See SEC v. Compania Internacional, 2011 WL

   3251813, at *7 (“Like any litigant, the Commission [is] obliged to make a more persuasive showing

   of its entitlement to a preliminary injunction the more onerous are the burdens of the injunction it

   seeks.”).

   IV. The Court Should Remove the Temporary Receivership or, at Most, Convert it to a
       Corporate Monitorship.

           Section 13(b) of the FTC Act grants courts broad equitable powers, including the power to

   appoint a receiver incident to a preliminary injunction. But the appointment of a receiver “is, like

   an injunction, an extraordinary remedy and ought never to be made except in cases of necessity

   upon a clear showing that . . . emergency exists, in order to protect the interests of the plaintiff in

   the property.” CFTC v. Combest Trading Corp., 481 F. Supp. 438, 441 (D. Mass. 1979). See also

   FTC v. Direct Marketing Concepts, Inc., 2006 WL 149039, at *4 (D. Mass. Jan. 19, 2006)

   (describing the appointment of a receiver as an extreme, “draconian” remedy); FTC. v. The

   Crescent Publishing Group, Inc., 129 F. Supp. 311, 326 (S.D.N.Y. 2001) (declining to appoint

   receiver, which, the Court noted, is “an extraordinary remedy to be employed cautiously and

   usually when no lesser relief would be effective.”).




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           There are a number of factors a court should consider in determining whether to appoint a

   receiver, among them: (i) the nature of the alleged fraud; (ii) the extent to which the property at issue

   is in imminent danger of being lost, concealed, squandered or otherwise diminished in value; (iii)

   the adequacy of available legal remedies; (iv) whether any harm to the plaintiff would be greater that

   any injury to the parties opposing the receiver; and (v) the plaintiff’s likelihood of success in the

   action and the possibility of irreparable injury to his or her interests in the property. Combest Trading

   Corp., 481 F. Supp. at 441. Additionally, courts should evaluate whether the interests sought to be

   protected would be well served by the receiver, that is, whether the assets subject to the proposed

   receivership would be of sufficient value to outweigh the added costs that likely would result from

   the receivership. Id. Finally, courts also determine whether a defendant is compliant with discovery

   or other requests or “willfully opposing discovery or refusing to answer questions relating to

   relevant business operations.” CFTC v. Lake Shore Asset Management Ltd., 2007 WL 2915647,

   at *17 (N.D.Ill. 2007).

           The Court should deny the FTC’s request to extend the receivership over the corporate

   Defendants through the preliminary injunction for the same reasons it should deny the FTC’s request

   for an asset freeze. First, as shown above, the Defendants did not engage in any type of consumer

   fraud or deceptive marketing practices, and the FTC is unlikely to prevail on the merits.

           Second, as shown above, there is no risk of dissipation of the corporate Defendants’ or Mr.

   Dorfman’s assets. The FTC has failed to offer a scintilla of evidence showing that there is a

   likelihood that the corporate Defendants’ or Mr. Dorfman’s assets being marshalled and controlled

   by the Receiver will be concealed, diverted or dissipated before a final judgment in this case.

           Third, the balance of the equities favors removal of the Receiver (as well as denying the other

   injunctive relief sought). Given the record evidence here, it is evident that appointment of the




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   receiver has imposed a much greater harm on the corporate Defendants and Mr. Dorfman than any

   alleged potential harm that might occur if the Receiver is removed. Mr. Dorfman’s companies have

   been stripped from him—without notice—and their assets and operations marshalled by the receiver.

   Through no fault of the Receiver himself, who is simply following the orders the FTC requested that

   the Court impose on the receiver, the receivership has fundamentally disrupted and likely destroyed

   the corporate Defendants’ businesses; only served to exacerbate any alleged customer complaints,

   which constitute a fraction of the corporate Defendants’ customer base; left the corporate

   Defendants’ employees without pay due to them; and interrupted the provision of tens of thousands

   of health insurance policies as individuals head into the open enrollment period for obtaining

   necessary health insurance. Conversely, the FTC has not shown any overriding reason why the

   receivership is necessary given that it has not shown any dissipation of assets.

          Fourth, Mr. Dorfman has been forthcoming and open in sharing information with the FTC

   and the receiver about the corporate Defendants. Within a few days of receiving the TRO, he

   provided the FTC with a financial disclosure requiring significant information about his assets and

   financial history, and he also met with the Receiver and his counsel and has responded to their

   various inquiries requesting information.

          Given consideration of these factors, the Court should refuse to continue the temporary

   receivership through a permanent injunction and it should allow Mr. Dorfman to take possession of

   the corporate Defendants and provide for their respective defense in this action. It is clear that a

   receiver is not only unnecessary, but that the takeover of the corporate Defendants and cessation of

   their business has hurt the Defendants and their diverse stakeholders. Alternatively, if the Court

   would prefer some level of supervision of over the corporate Defendants’ operations, then Mr.

   Dorfman requests that the Court convert the receivership into a corporate monitorship whereby Mr.




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   Dorfman and the monitor agree to a revised business plan for the corporate Defendants and the

   monitor supervises the corporate Defendants’ operations and receives periodic reports regarding

   corporate Defendants’ services and its finances.

                                            CONCLUSION

          For the foregoing reasons, Mr. Dorfman respectfully requests that the Court deny the entry

   of a preliminary injunction, dissolve the asset freeze and receivership, and for all further relief

   the Court deems just and proper.


   Dated: March 25, 2019                                   DLA Piper LLP (US)

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                                    CERTIFICATE OF SERVICE

          The undersigned certifies that he filed this pleading through the court’s electronic filing
   system and that all parties requesting electronic notice of pleadings have been served with the
   pleading.

                                                           /s/ Ryan D. O’Quinn
                                                           Ryan D. O’Quinn




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